                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


    SECURITIES AND EXCHANGE
    COMMISSION,

                                Plaintiff,

                          vs.                           Case No. 2:22-cv-0450

                                                        Hon. J.P. Stadtmueller

    KAY X. YANG, and
    XAPPHIRE LLC,

                                Defendants,

    and

    CHAO YANG,

                                Relief Defendant.


                            PLAINTIFF’S RESPONSE TO
                    DEFENDANT KAY X. YANG’S MOTION TO DISMISS

          Plaintiff U.S. Securities and Exchange Commission (“SEC”), by way of response to the

Motion to Dismiss (Docket No. 24), 1 filed by Defendant Kay X. Yang (“Defendant” or “Kay

Yang”), states as follows:

                                      Preliminary Statement

          The SEC filed this case on April 13, 2022, alleging that Defendants Kay X. Yang and

Xapphire LLC violated the securities laws by raising at least $16.5 million from approximately

70 investors through two fraudulent offerings of securities, and that Relief Defendant Chao Yang



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 On August 25, 2022, Defendants Kay Yang and Chao Yang jointly filed a “Notice of Default
Motion to Dismiss with Prejudice” (Docket No. 26). The SEC will respond separately to that
motion.


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received improper transfers of investor money from the Defendants. (See Docket No. 1) The

SEC filed an Amended Complaint on April 27, 2022, which contained the same factual

allegations as the initial Complaint. (Docket No. 4) Defendants failed to respond to the

Amended Complaint. Accordingly, the Clerk of Court entered default on June 24, 2022. To

date, no attorney has entered an appearance on behalf of Defendants.

       After entry of the default, Kay Yang and Chao Yang filed a variety of notices and

affidavits pro se. (See Docket Nos. 14, 15, 18, 19, 20, 21) On July 22, 2022, this Court entered

an Order granting the SEC’s motion to strike, and further ordered that Kay Yang and Chao

Yang’s additional filings docketed as ECF Nos. 18, 19, 20, and 21 be stricken. (Docket No. 23

at 4) The Court’s Order also granted Defendants Kay Yang, Xapphire LLC, and Relief

Defendant Chao Yang twenty-one days “to file an appropriate motion to set aside the Clerk of

Court’s entry of default, taking care to demonstrate why ‘good cause’ exists therefore under

Federal Rule of Civil Procedure 55(d).” (Id. at 5)

       Defendants did not comply with the Court’s Order. Instead, Kay Yang filed a “motion”

containing a veritable hodge-podge of unrelated claims, statements, questions and accusations,

including:

   •   This Court (or the Seventh Circuit Court of Appeals), must be a business because it has a
       Dunn & Bradstreet number. (See Docket No. 24 at ¶¶ 3-4)

   •   This Court has a clerk, so it must be a bank and accept deposits including “the bonds
       deposited by Kay-Xiong: Yang.” (See id. ¶¶ 3-4)

   •   Whether the District Judge and the attorneys in this matter, presumably those
       representing the SEC, “are part of the same team”? (See id. ¶ 5)

   •   Whether this Court has issued a “true bill” that a crime was committed? (See id. ¶ 6)

   •   The Yangs’ default in this matter was the result of ineffective assistance of their prior
       counsel and “is not to be used against the defendants,” citing Strickland v. Washington,


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       466 U.S. 668 (1984). (See id. ¶ 7)

   •   Kay Yang’s Fifth Amendment rights (or Double Jeopardy protections) were violated
       because in 2020 she agreed to a Consent Order with the Wisconsin Department of
       Financial Institutions, without a finding of fraud, regarding the same $16.5 million
       investment scheme described herein. (Id. ¶ 8)

       The motion also contains multiple paragraphs arguing, among other things, that:

Defendants are not employed by the SEC; the Court and the SEC are harming Defendants; the

FBI “raided and stole” Defendants’ personal property “at gun point;” the SEC is attempting to

intimidate, harass and extort money from the Defendants; and, if Defendants’ motion is not

promptly granted the SEC should pay them $10 billion. (See Id. at 2-4)

       The Court should deny Defendant’s Motion to Dismiss for the reasons set forth below.

                                             Argument

       A.      The Motion Does Not Comply with the Court’s July 22, 2022 Order.

       Kay Yang’s motion does not comply with the Court’s July 22, 2022 Order, which

authorized Defendants to file only a motion seeking to set aside the Clerk of Court’s entry of

default. The motion acknowledges the entry of default (see Docket No. 24 ¶ 7) but does not

request that it be set aside. And the motion does not mention Federal Rule of Civil Procedure

55(d), or its requirements. The motion never uses the phrase “good cause” or suggests that the

Court would have “good cause” to relieve her of her default. To the contrary, the first six

paragraphs of the motion question the Court’s status as a judicial institution, assert that it is

acting as a bank holding Defendant’s property, and asks whether the Court is aligned with the

SEC’s attorneys. (Id. ¶¶ 1-5) It is not a request to set aside the entry of default.

       B.      Defendant Fails to Raise Any Potential Defenses.

       Even if the motion were to be construed as a timely Rule 55 motion, it would not justify

setting aside the default. Kay Yang has not raised any potential defenses to the SEC’s claims

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under the securities laws. See Wehrs v. Wells, 688 F.3d 886, 890 (7th Cir. 2012) (general denials

found insufficient to constitute a “meritorious defense”); Jones v. Phipps, 39 F.3d 158, 165 (7th

Cir. 1994) (a meritorious defense must raise “a serious question regarding the propriety” of the

judgment and be “supported by a developed legal and factual basis”).

         None of the numerous previous filings by Defendants address (let alone deny) the

allegations of the Amended Complaint. 2 The closest Kay Yang comes to articulating a defense

to the SEC’s claims in this matter is the assertion that her Fifth Amendment or Double Jeopardy

right have been violated because she consented to a 2020 settlement with the Wisconsin

Department of Financial Institutions, without any findings of fraud, scam, scheme or any

variation thereof.” 3 (See Docket No. 24 ¶ 8)

         However, the Double Jeopardy clause of the U.S. Constitution “protects only against

multiple criminal punishments meted out in successive proceedings.” United States v. Van

Waeyenberghe, 481 F.3d 951, 958 (2007) (citing Hudson v. United States, 522 U.S. 93, 98

(1997)). Neither the Wisconsin Department of Financial Institution’s action seeking the

repayment of investor funds, nor the SEC’s civil case against Defendants seeking disgorgement

and civil penalties, is a criminal proceeding. See Van Waeyenberghe, 481 F.3d at 958-59.

         The other grievances raised by Kay Yang relate to an FBI search of the Defendant’s

home, and the removal of certain materials, in connection with that search. (See Docket No. 24

at 3 (“raided and stole, at gun point, the personal properties of Kay-Xiong; Yang and Chao




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 Kay Yang’s claim that she was advised by an attorney not to respond to the SEC (see Docket
No. 24 ¶ 7), may explain her initial failure to respond to the Amended Complaint. But the U.S.
Supreme Court’s decision in Strickland v. Washington, 466 U.S. 668 (1984), does not establish
any defense available to Kay Yang against the SEC’s securities fraud claims.
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    See Docket No. 4, Am. Compl. ¶¶ 57-60.
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Yang”)) The search of Defendant’s home occurred pursuant to a judicial warrant issued in a

separate criminal proceeding, to which the SEC is not a party. (See Am. Compl. ¶ 71) The SEC

does not hold any of the materials that were seized from Defendants. To the extent that

Defendants seek the return of materials seized in that search, those requests should be directed to

the criminal authorities in the search warrant proceeding.

       C.      Defendant Is Barred from Asserting Any Claims Against the SEC
               in This Litigation.

       Kay Yang’s motion contains several conclusory and unfounded assertions that the SEC

has violated her “God given rights” and continues to “intimidate, harass and psychologically

harm” Defendant and her family and friends. (Docket No. 24 at 3) She accuses the SEC of

seeking its own enrichment in this case, and claims that it “has committed extortion.” (Id.) Kay

Yang even suggests that, if the Court and the SEC do not dismiss this action, she is entitled

among other things to payment for her injuries in the amount of $10 billion. (Id. at 4) These

contentions must be rejected.

       Section 21(g) of the Securities and Exchange Act of 1934 provides:

       Notwithstanding the provisions of section 1407(a) of Title 28, or any other provision of
       law, no action for equitable relief instituted by the Commission pursuant to the securities
       laws shall be consolidated or coordinated with other actions not brought by the
       Commission, even though such other actions may involve common questions of fact,
       unless such consolidation is consented to by the Commission.

15 U.S.C. § 78u(g). The purpose of Section 21(g) is “to ensure speedy resolution of SEC

enforcement actions.” SEC v. McCaskey, 56 F. Supp. 2d 323, 325 (S.D.N.Y. 1999) (citation

omitted) (striking counterclaim against SEC).

       Because adding claims to lawsuits tends to delay and complicate litigation, Section 21(g)

is routinely invoked to strike or dismiss unauthorized third-party complaints and counterclaims.

See S.E.C. v. Wealth Management LLC, Case No. 09-C-506, 2009 WL 3765395, at *1-2 (E.D.

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Wisc. Nov. 9, 2009) (Griesbach, J.) (dismissing counterclaims by pro se defendant); SEC v.

Pinchas, 421 F. Supp. 2d 781, 784 (S.D.N.Y. 2006) (“Any consideration of defendant’s

counterclaims here is barred by statute”); SEC v. Better Life Club of Am., Inc., 995 F. Supp. 167,

180 (D.D.C. 1998) (dismissing unauthorized counterclaims). Moreover, the prohibition against

asserting counterclaims or permitting intervention is absolute if the SEC does not consent. SEC

v. Wozniak, Case No. 92 C 4691, 1993 WL 34702, at *1 (N.D. Ill. Feb. 8, 1993). See also SEC

v. Heartland Group, Inc., Case No. 01 C 1984, 2003 WL 103015, at *2 (N.D. Ill. Jan. 10, 2003)

(courts have found intervention, cross-claims, counterclaims and third-party claims to be barred

because “Section 21(g) acts as an impenetrable wall”). Here, the SEC does not consent to be

subject to any counterclaims in this action. Accordingly, the Court should disregard any and all

claims by Defendants, for damages or any other relief.

                                           Conclusion

       For all of the foregoing reasons, the SEC respectfully requests that the Court deny

Defendant Kay Yang’s August 10, 2022 Motion to Dismiss (Docket No. 24).


Dated: September 1, 2022

                                                 By: /s/Robert M. Moye______________
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                                CERTIFICATE OF SERVICE

       I certify that on September 1, 2022, I caused a copies of the foregoing Response, along

with the unpublished decisions cited therein, to be served by U.S. Mail delivery, upon:

       Kay X. Yang
       9855 West Hawthorne Road
       Mequon, WI 53097

       Xapphire LLC
       9855 West Hawthorne Road
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       Chao Yang
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                                                    /s/Robert M. Moye____________
                                                           Robert M. Moye




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